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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------X
MARTIN JOSEPH SAGMAN,
                                    Plaintiff,                              20 CIVIL 4257 (CS)(JCM)

                 -against-                                                     JUDGMENT

COMMISSIONER OF SOCIAL SECURITY,
                                    Defendant.
-----------------------------------------------------------X



        It is hereby ORDERED, ADJUDGED AND DECREED: That for the reasons

stated in the Court's Memo Endorsed Order dated December 8, 2021, no objections to the Report

and Recommendation have been received, and accordingly the Court has reviewed it for clear

error. Finding no error, clear or otherwise, the R&R is adopted as the decision of the Court.

Plaintiff's motion for judgment on the pleadings is granted and the case is remanded to the

Commissioner pursuant to sentence four of 42 U.S.C. 405(g) for further proceedings consistent

with the R&R. The Commissioner's cross-motion for judgment on the Pleadings is denied.

Dated: New York, New York
       December 8, 2021


                                                                          RUBY J. KRAJICK
                                                                      _________________________
                                                                            Clerk of Court
                                                                BY:
                                                                      _________________________
                                                                             Deputy Clerk
